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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION


XIAFEN CHEN,                              Case No. 1:19-cv-00045

              Plaintiff,                  District Judge Timothy S. Black

       v.

UNITED STATES OF AMERICA,                 NOTICE OF APPEARANCE

              Defendant.



      Matthew J. Horwitz and Kevin A. Koller, Assistant United States Attorneys,

hereby give their notice of appearance as counsel for the Defendant, United States of

America.

                                             Respectfully submitted,


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                                             United States Attorney

                                             s/Matthew J. Horwitz
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 2nd day of April, 2019, I electronically filed the

foregoing Notice of Appearance with the Clerk of Court using the CM/ECF system

and is served by ECF to all parties on record.

                                                 s/Matthew J. Horwitz
                                                 MATTHEW J. HORWITZ (0082381)
                                                 Assistant United States Attorney




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